        Case 1:21-cv-02217-SCJ Document 1 Filed 05/26/21 Page 1 of 14




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

 JOVI A. FORTUNO,

             Plaintiff,

       vs.                                 Civil Action No. _______________

 YPL ENTERPRISE, LLC, d/b/a Q
 Korean Steakhouse and YEN PO LIU,

             Defendants.


                                    COMPLAINT

Plaintiff Jovi A. Fortuno herein asserts claims against Defendant YPL Enterprise,

Inc., d/b/a Q Korean Steakhouse and Yen Po Liu for due but unpaid minimum and

overtime wages and for fraudulent filing of tax information returns, showing the

Court as follows:

                                   Introduction

1.    In this Fair Labor Standards Act action, 29 U.S.C. 201 et seq., Plaintiff, a

      restaurant server, seeks to recover unpaid minimum and overtime wages

      from his employers that resulted from a kickback scheme in which Plaintiff

      was required to pay large nightly fees to Defendants calculated as a

      percentage of the sales he made that were paid by credit card.


                                        -1-
       Case 1:21-cv-02217-SCJ Document 1 Filed 05/26/21 Page 2 of 14




2.   Plaintiff brings an additional claim for fraudulent filing of tax information

     returns in violation of 26 U.S.C. § 7434, in connection with IRS Forms W-2

     filed by Defendant YPL misrepresenting his earnings from 2019 and 2020.

3.   Plaintiff is contemporaneously providing a copy of this Complaint to the

     Internal Revenue Service as required by 26 U.S.C. § 7434(d).

                             Jurisdiction and Venue

4.   The jurisdiction of this Court is invoked pursuant to 29 U.S.C. § 216(b) and

     28 U.S.C. § 1331.

5.   Venue properly lies in the Northern District of Georgia under 28 U.S.C.

     § 1391(b) because Defendants conduct business in this judicial district and

     division, its principal office address is in this district and division, and the

     Individual Defendant resides within this judicial district and division.

                                       Parties

6.   Plaintiff is a natural person residing in Muscogee County, Georgia.

7.   Defendant YPL Enterprise, Inc., d/b/a Q Korean Steakhouse is a domestic

     corporation existing under the laws of the State of Georgia. YPL may be

     served with process via service on its registered agent Yen Po Liu at 7435

     Ledgewood Way, Suwanee, Fulton County, Georgia, 30024.

8.   YPL is subject to the personal jurisdiction of this Court.


                                         -2-
        Case 1:21-cv-02217-SCJ Document 1 Filed 05/26/21 Page 3 of 14




9.    Defendant Yen Po Liu is a natural person and may be served with process at

      his residence in Suwanee, Fulton County, Georgia, or wherever he may be

      found.

10.   Defendant Liu is subject to the personal jurisdiction of this Court.

                      Enterprise Coverage Under the FLSA

11.   At all relevant times, two more employees of YPL, including Plaintiff, used

      or handled the following items that moved in interstate commerce that are

      necessary for performing its commercial purpose: foodstuffs, liquor, beer,

      kitchen equipment, chairs, tables, and paper products.

12.   In 2019, YPL had an annual gross volume of sales made or business done of

      not less than $500,000 (exclusive of excise taxes at the retail level that are

      separately stated) within the meaning of 29 U.S.C. § 203(s)(1)(A).

13.   In 2020 YPL had an annual gross volume of sales made or business done of

      not less than $500,000 (exclusive of excise taxes at the retail level that are

      separately stated) within the meaning of 29 U.S.C. § 203(s)(1)(A).

14.   In 2021 YPL had an annual gross volume of sales made or business done of

      not less than $500,000 (exclusive of excise taxes at the retail level that are

      separately stated) within the meaning of 29 U.S.C. § 203(s)(1)(A).




                                          -3-
        Case 1:21-cv-02217-SCJ Document 1 Filed 05/26/21 Page 4 of 14




15.   During 2019, YPL had two or more “employees engaged in commerce”

      within the meaning of 29 U.S.C. § 203(s)(1)(A).

16.   During 2020, YPL had two or more “employees engaged in commerce”

      within the meaning of 29 U.S.C. § 203(s)(1)(A).

17.   During 2021, YPL had two or more “employees engaged in commerce”

      within the meaning of 29 U.S.C. § 203(s)(1)(A).

18.   During 2019, YPL had two or more “employees handling, selling or

      otherwise working on goods or materials that have been moved in or

      produced for commerce by any person” within the meaning of 29 U.S.C.

      § 203(s)(1)(A).

19.   During 2020, YPL had two or more “employees handling, selling or

      otherwise working on goods or materials that have been moved in or

      produced for commerce by any person” within the meaning of 29 U.S.C.

      § 203(s)(1)(A).

20.   During 2021, YPL had two or more “employees handling, selling or

      otherwise working on goods or materials that have been moved in or

      produced for commerce by any person” within the meaning of 29 U.S.C.

      § 203(s)(1)(A).




                                       -4-
        Case 1:21-cv-02217-SCJ Document 1 Filed 05/26/21 Page 5 of 14




21.   During 2019, YPL was an “enterprise engaged in commerce or in the

      production of goods for commerce” within the meaning of 29 U.S.C.

      § 207(a)(1).

22.   During 2020, YPL was an “enterprise engaged in commerce or in the

      production of goods for commerce” within the meaning of 29 U.S.C.

      § 207(a)(1).

23.   During 2021, YPL was an “enterprise engaged in commerce or in the

      production of goods for commerce” within the meaning of 29 U.S.C.

      § 207(a)(1).

                     Corporate Employer Under the FLSA

24.   Defendants own and operate a business enterprise known as Q Korean

      Steakhouse (hereinafter “Q”) with locations in Cumming, Forsyth County,

      Georgia, and Columbus, Muscogee County, Georgia.

25.   Plaintiff has worked as a server at Q from approximately November 2019

      through the present.

26.   At all relevant times, Plaintiff has been an “employee” within the meaning

      of 29 U.S.C. § 203(e) in connection with his server work at Q as a matter of

      economic reality.




                                       -5-
        Case 1:21-cv-02217-SCJ Document 1 Filed 05/26/21 Page 6 of 14




27.   At all relevant times, YPL has been Plaintiff’s “employer” within the

      meaning of 29 U.S.C. § 203(d) as a matter of economic reality.

                        Individual Employer Under the FLSA

28.   At all relevant times, Liu has acted directly or indirectly in the interest of

      YPL in his interactions with Plaintiff, and he controlled the terms and

      conditions of Plaintiff’s employment on a day-to-day basis.

29.   Specifically, Liu was and is the owner, sole organizer, and registered agent

      of YPL, and at all relevant times has had the highest-level management

      authority at Q.

30.   At all relevant times, Liu has had authority and exercised control over the

      finances and operations of Q.

31.   At all relevant times, Liu had authority and control over YPL’s common

      policy of requiring Plaintiff and other Q servers for whom it claimed the

      FLSA’s tip credit to pay kickbacks to Q in the form of purported credit card

      processing fees.

32.   At all relevant times, Liu has been an “employer” within the meaning of 29

      U.S.C. § 203(d).




                                         -6-
        Case 1:21-cv-02217-SCJ Document 1 Filed 05/26/21 Page 7 of 14




                FLSA Non-Exempt Status and FLSA Violations

33.   At all relevant times, Defendants compensated Plaintiff at an hourly rate of

      approximately $2.15 per hour plus tips for his server work.

34.   At all relevant times, Defendants required Plaintiff and other tipped Q

      servers to pay “credit card processing fees” each shift worked.

35.   The “credit card processing fees” paid by Plaintiff to Defendants were

      calculated as a percentage of all credit card sales made by Plaintiff on a

      given shift.

36.   The “credit card processing fees” paid by Plaintiff to Defendants were

      calculated at 4% of Plaintiff’s nightly credit card sales.

37.   The “credit card processing fees” paid by Plaintiff to Defendants exceeded

      the actual processing fees charged to Defendants by their merchant service

      providers for processing Plaintiff’s tips that were paid by credit card.

38.   The “credit card processing fees” paid by Plaintiff to Defendants were

      “kickbacks” within the meaning of 29 C.F.R. § 531.35, and in violation of

      the FLSA’s requirement that minimum and overtime wages be paid “free

      and clear.”




                                         -7-
        Case 1:21-cv-02217-SCJ Document 1 Filed 05/26/21 Page 8 of 14




39.   By charging Plaintiff these “credit card processing fees,” Defendants

      violated the FLSA’s tip credit provisions thereby destroying their ability to

      claim the tip credit with respect to Plaintiff’s wages.

40.   At all relevant times, Defendants were thus not entitled to utilize the FLSA’s

      tip credit provision to credit Plaintiff’s tips towards a portion of their

      minimum wage and overtime obligations.

41.   In each workweek during the relevant time period, Defendants failed to

      compensate Plaintiff at or above the federal minimum wage of $7.25 per

      hour for each hour worked.

42.   In numerous workweeks throughout the relevant time period, Plaintiff

      worked in excess of 40 hours per week.

43.   In each relevant workweek, Defendants failed to compensate Plaintiff at or

      above one-and-one-half times his regular hourly rate for each hour worked

      in excess of 40 hours in a single workweek.

                 Filing of Fraudulent Tax Information Returns

44.   Throughout Plaintiff’s employment at Q, the earnings shown on Plaintiff’s

      paystubs reflected only his hourly rate of $2.15 per hour and his tips that had

      been paid by credit card, but omitted his cash tips.




                                          -8-
        Case 1:21-cv-02217-SCJ Document 1 Filed 05/26/21 Page 9 of 14




45.   Throughout Plaintiff’s employment at Q, he was requested to report only his

      credit card tips.

46.   Throughout Plaintiff’s employment at Q, when Plaintiff attempted to report

      his cash tips, Defendants ignored those amounts and issued paystubs that did

      not include his cash tips.

47.   In 2020, Defendants filed or caused to be filed an IRS Form W-2 with the

      IRS with respect to Plaintiff’s earnings during 2019.

48.   The IRS Form W-2 filed by Defendants with respect to Plaintiff’s 2019

      earnings was false and fraudulent because it only reflected Plaintiff’s hourly

      rate of $2.15 per hour and Plaintiff’s credit card tips, but omitted Plaintiff’s

      cash tips.

49.   In 2021, Defendants filed or caused to be filed an IRS Form W-2 with the

      IRS with respect to Plaintiff’s earnings during 2020.

50.   The IRS Form W-2 filed by Defendants with respect to Plaintiff’s 2020

      earnings was false and fraudulent because it only reflected Plaintiff’s hourly

      rate of $2.15 per hour and Plaintiff’s credit card tips, but omitted Plaintiff’s

      cash tips.

51.   Defendants intentionally and willfully filed or caused to be filed these

      fraudulent IRS Forms W-2 for the purpose of their own enrichment by


                                         -9-
       Case 1:21-cv-02217-SCJ Document 1 Filed 05/26/21 Page 10 of 14




      avoiding employer contributions to Plaintiff’s Social Security and Medicare

      tax obligations.

                  COUNT ONE – VIOLATION OF 29 U.S.C. §§ 206
                        AND 215 (MIMINIMUM WAGE)

52.   At all relevant times, Plaintiff was an employee covered by the FLSA and

      entitled to the minimum wage protections set forth in 29 U.S.C. § 206(a).

53.   At all relevant times, Defendants failed to compensate Plaintiff at an hourly

      rate above or equal to the federal minimum wage.

54.   At all relevant times, Defendants required Plaintiff to pay kickbacks to

      Defendants in violation of 29 U.S.C. § 203(m) and 29 C.F.R. § 531.35.

55.   Defendants are liable to Plaintiff for all unpaid minimum wages for hours

      worked during the Relevant Time Period pursuant to 29 U.S.C. § 216(b), in

      an amount to be determined at a trial.

56.   Defendants are also liable to Plaintiff for the full value of all kickbacks that

      Plaintiff paid to Defendants.

57.   Defendants are also liable to Plaintiff for liquidated damages pursuant to 29

      U.S.C. § 216(b).

58.   Defendants are also liable to Plaintiff for his litigation costs and reasonable

      attorney’s fees pursuant to 29 U.S.C. § 216(b).



                                         - 10 -
         Case 1:21-cv-02217-SCJ Document 1 Filed 05/26/21 Page 11 of 14




                    COUNT TWO - VIOLATION OF 29 U.S.C. §§ 207
                          AND 215 (OVERTIME WAGES)

59.     At all relevant times, Plaintiff was an employee covered by the FLSA and

        entitled to the maximum hour protections set forth in 29 U.S.C. § 207(a).

60.     In numerous workweeks throughout his employment, Defendants have failed

        to compensate Plaintiff at one-and-one-half times his regular hourly rate for

        all hours worked in excess of 40 hours per week as required by the FLSA.

61.     Defendants are therefore liable to Plaintiff for all unpaid overtime premiums

        earned during the Relevant Time Period pursuant to 29 U.S.C. § 216(b), in

        an amount to be determined at a trial.

62.     Defendants are also liable to Plaintiff for liquidated damages pursuant to

        FLSA § 16(b), 29 U.S.C. § 216(b).

63.     Defendants are also liable to Plaintiff for his litigation costs and reasonable

        attorney’s fees pursuant to 29 U.S.C. § 216(b).

      COUNT THREE – FRAUDULENT FILING OF TAX INFORMATION RETURNS IN
                       VIOLATION OF 26 U.S.C. § 7434

64.     In 2020, Defendants intentionally, willfully, and fraudulently composed and

        filed or caused to be filed a fraudulent W2 Form with the IRS which

        materially misrepresented Plaintiff’s earnings during the 2019 tax year.




                                          - 11 -
          Case 1:21-cv-02217-SCJ Document 1 Filed 05/26/21 Page 12 of 14




65.     In 2021, Defendants intentionally, willfully, and fraudulently composed and

        filed or caused to be filed a fraudulent W2 Form with the IRS which

        materially misrepresented Plaintiff’s earnings during the 2020 tax year.

66.     Specifically, Defendants filed or caused to be filed IRS Forms W2 that

        omitted Plaintiff’s tips earned in cash and reported only his income earned in

        credit card tips, as well as his hourly pay of $2.15 per hour.

67.     As a consequence of Defendants’ willful filing of fraudulent tax information

        returns, Plaintiff is entitled to recover damages from Defendants, jointly and

        severally, up to and including any actual damages sustained, or in any event

        not less than $5,000 per fraudulent filing, as well as his costs of litigation

        including his reasonable attorneys’ fees, pursuant to 26 U.S.C. § 7434.

68.     The Court’s decision awarding these damages shall include a finding of the

        correct amount which should have been reported in the fraudulent

        information returns, as required by 26 U.S.C. § 7434(e).

      WHEREFORE, Plaintiff requests that this Court:

        (a)   Take jurisdiction of this matter;

        (b)   Issue an Order holding each of the Defendants to be an “employer” as

              that term is defined under the FLSA;




                                           - 12 -
 Case 1:21-cv-02217-SCJ Document 1 Filed 05/26/21 Page 13 of 14




(c)   Issue a judgment declaring that Plaintiff was covered by the minimum

      wage and maximum hour provisions of the FLSA and that Defendants

      have failed to comply with the requirements of the FLSA;

(d)   Award Plaintiff all unpaid minimum wages for each hour worked

      during the Relevant Time Period and liquidated damages equaling

      100% of his unpaid minimum wages;

(e)   Award Plaintiff all unpaid overtime wages for each hour worked in

      excess of 40 hours per week during the Relevant Time Period and

      liquidated damages equaling 100% of his unpaid overtime wages;

(f)   Award Plaintiff pre-judgment interest on all amounts owed to the

      extent that liquidated damages are not awarded;

(g)   Issue a judgment declaring that Defendants filed or caused to be filed

      fraudulent tax information returns with respect to Plaintiff’s earnings

      in 2019 and 2020;

(h)   Award Plaintiff no less than $5,000 for each instance of fraudulent tax

      information return filing by Defendants;

(i)   Determine the amount of Plaintiff’s 2019 and 2020 earnings that

      should have been reported to the IRS;

(j)   Award Plaintiff nominal damages;


                                 - 13 -
       Case 1:21-cv-02217-SCJ Document 1 Filed 05/26/21 Page 14 of 14




     (k)   Award Plaintiff his costs of litigation and reasonable attorney’s fees;

     (l)   Award any and such other further relief this Court deems just,

           equitable and proper.

This 26th day of May 2021.

                                               Respectfully submitted,

                                               DELONG, CALDWELL, BRIDGERS,
                                               FITZPATRICK & BENJAMIN, LLC

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                                      - 14 -
